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                                  HEDTKE LAW OFFICE
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                                            September 29, 2020


US Trustee                           Kyle Carlson, Chapter 13 Trustee
1015 US Courthouse                   P.O. Box 519
300 So. 4th Street                   Barnesville, MN 56514
Minneapolis MN 55415


       Re:    Anthony Lastovich
              Case No.: 19-50848


Dear Clerk:

       Please note that the above-referenced Debtor has a new address. It is as follows:

                             Anthony Lastovich
                             Po Box 459
                             Chisholm, MN 55719

       Thank you.

                                     Very truly yours,

                                     /s/ John F. Hedtke

                                     John F. Hedtke
